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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
S1lu,a A^^ B*o.
                                   Plaintiff(s),

vs.                                                                case    No Ll- cx      -   |l6ffi-   ft{f JrD
L^A        +    fi;r f*7cs5                                        (To be assigned by Clerk of District Coult)


Malo Cl;,';g
lVo\. flrhiq           A               Su'it'-
                           ^i'^fo'r*
                                                                   DEMAND FOR JURY TRIAL

                                                                             YESEI            Nol-l
                               Defendant(s).

(Enter the full name(s) of ALL defendants in
this lawsuit. Please attach additional sheets
if necessary).


                                                   COMPLAINT

PARTIES

1.    List your name, address and telephone number. Do the same for any additional plaintiffs.

      a.   Plaintiff

           Name               s, Lv.ih         Aao Spca u4
                                                                           4 'r z
           Street   Address    -l3 o,5; 'S-' En 0 /* 'v*      A   vt   )
           CountY,     City tn)e'zfon, €-VLt'q
           State&ZipCode 41 o.                 cg?oc/
                                                          e
           TelephoneNumber ?? 7 - L{ ? 7'f7c

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                                                                                                     U.S. DISTRICT COURT ST. PAUL
                 CASE 0:21-cv-01888-ECT-JFD Doc. 1 Filed 08/20/21 Page 2 of 7




       2.   List all defendants. You should state the full name of the defbndant, even if that def-endant is
            a govemment agency, an organization, a corporation, or an individual. Include the address
 F.         where each defendant may be served. Make sure that the defendant(s) listed below are
 &          identical to those contained in the above caption.
 F
 Fi,
 F.
 p          a.   Defendant No. I
 F
                 Name               /.+^/c 6        Aip. FgnA- ss ( 8/,r- l?4,nf// ). B/r- (er, Lt-.:
                 StreetAddress      s-.       S; g,L., 72arakw.t7

                 County,   City     h1*nk+fu )                           {s(-   a   /

                 State&ZipCode        ma              -s-.:rao/
 F-
            b.   Defendant No. 2
 tr              Name               4241o              C L,{ot   I c- - J-f.n)4rz y 's //- 2zf-+t
                 Street   Address / I r c {- c: u4{                S   fa "r    rcc'

                 County,City            Qo-0-sf-e
                 State   & Zip   Code   /r7   n       r s-fo :-
            c.   Defendant No. 3

                 Name               {r/ry.            f ,,o1/e
                                                4r, L/.o,...
                                                  C                                     ,go s,-,,i   n
                 StreetAddress S'a t, S)6 r( //uoe,+r 4v,

                 County,   City      2 o.' A' s /e,oc-
                 state &   zip   code n1 4            {s- 7 o:


       NOTE: IF. THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE
       PROVIDE THEIR NAMES AI\D ADDRESSES ON A SEPARATE SHEET OF PAPER.
       Check here if additional sheets of paper are attached:l-l
       Please label the attached sheets of paper to correspond to the appropriate numbered
       paragraph above (e.g. Additional Defendants 2.d.,2.e., etc.)



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                 CASE 0:21-cv-01888-ECT-JFD Doc. 1 Filed 08/20/21 Page 3 of 7
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     JURISDICTION

     Federal courts are courts of limited jurisdiction. Generally, two types of cases can be heard in
     federal court: cases involving a federal question and cases involving diversity of citizenship of
     the parties. Under 28 U.S.C. $ 1331, a case involving the United States Constitution or federal
     laws or treaties is a federal question case. Under 28 U.S.C. $ 1332, a case in which a citizen of
     one state sues a citizen of another state and the amount of damages is more than $75,000 is a
     diversity of citizenship case.

     3.   What is the basis for federal court jurisdiction? (check all that apply)

               l-lFederal Question         F    Diversity of Citizenship

     4.   If the basis for jurisdiction is Federal Question, which Federal Constitutional, statutory or
          treaty right is at issue? List all that apply.




     5. If the basis for jurisdiction is Diversityof Citizenship, what is the state of citizenship of each
          party? Each Plaintiff must be diverse from each Defendant for diversity jurisdiction.

                                                                                                           qd-t'
          PlaintiffName:     S   y Lu6   *na   B n,n   -r<     State   ofCitizenship: h1      "
                                                                                                   sse

          DefendantNo. 1: L.+-ra fu /*t'n- E>az.-ts            State of   Citizenship:   47   t'   ra   cr. s or   c<




          DefendantNo.     2: h,+y- | Lt'4,'q                  State of   Citizenship: M;44. s -lq.

          Attach additional sheets of paper as necessary and label this information as paragraph
          f'
                          ,ri+i^--r .r.^-+.
          Check here if additional             ^^
                                            of paper
                                    sheets ^f        are attached.Dsr
                                                                  -
     6.   What is the basis for venue in the District of Minnesota? (check all that apply)

               ffiOefenOant(s) reside in Minnesotu [KlFacts alleged below primarily occuned in
                                                             Minnesota
               Iother:    explain




     STATEMENT OF THE CLAIM

     Describe in the space provided below the basic facts of your clairn. The description of facts
     should include a specific explanation of how, where, and when each of the defendants named in
     the caption violated the law, and how you were harmed. Each paragraph must be numbered
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Paragraph 5 -

Defendant number 3 - Mayo Clinic Ambulance Service

State of citizenship - Minnesota
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      separately, beginning with number 7. Please write each single set of circumstances in a
      separately numbered paragraph.

      7.     S"- ^#"dJ




      Attach additional sheets of paper as necessary. ,_r
      Check here if additional sheets of paper are attachedx
      Please label the attached sheets of paper to as Additional Facts and continue to number the
      paragraphs consecutively.

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rn    REQUEST FOR RELIEF
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ffi   State what you want the Court to do for you and the amount of monetary compensation,      if any,
W.    you are seeking.
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                                      CASE 0:21-cv-01888-ECT-JFD Doc. 1 Filed 08/20/21 Page 6 of 7
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                       was in a sitting position on the seat behind the van driver, unrestrained, discussing
                                                                                                              with the van driver information
              pertaining to location of motel in Rochester. van driver was looking up information
                                                                                                     on her cell phone pertaining to this concern
              while driving' At one point she asked for a phone number for the motil, which necessitated
                                                                                                              my looking into carry-on for such
              information and relating same to her. She placed phone call while driving the van
                                                                                                   and apparently got the directional information
              she needed' I relaxed and sat back in the seat. The van driver then started placing
                                                                                                   materials in spot on right side platform. I kept
              waiting for the van driver to give some feed back on where my motel was located
                                                                                                   but no further information.

         t                 She then noticed a vehicle trying to pass the van to get ahead of the truck
                                                                                                        and commented that she wished she knew what
              he was going to do,     as she was trying to pass the truck also. I felt,a jolt and the next thing
                                                                                                                 I knew                  I was on the floor in front of my
              seat and reaching for the pole. The van driver was         still commenting on how               she had to swerve and brake or she would hit one or
              Ine o[ner.

                         There was one other person on the bus, on the seat in the front row directly across
                                                                                                              from me on the other aisle. I got the
              impression that this person was not a passenger but an"observer" as any passenger
                                                                                                      would normally, I felt, had hollered for the van
              driver to stop as someone hd fallenl on the floor. No comment from this person. personally
                                                                                                    I            think that the van driver saw my
              fall but ignored any assistance as when this other person finally yelled (after I had been
                                                                                                          pleading ..please help me, I think I broke
              my arm") to the van driver "she thinks she broke her arm". The van driver responded
                                                                                                        with the comment that she had to contact the
              office never questioning how all of a sudden I would have broken my arm. Call to office
                     '                                                                                       was made while van driver continued to
              drive at speed limit (65-70?).

                      The van driver never stopped the van to check on me or even looked at me through
                                                                                                       the mirror after or before the
             conversation with the office. I had managed, by some God given strength, to pull
                                                                                              myselflack onto my seat fiom the floor, while
             holding onto this metal pole.

    {l                As the van driver continued driving the speed limit, with me holding onto the pole while
                                                                                                               sitting at the edge of my seat, I
             noticed a Mayo Clinic building and asked her to please stop and get some help
                                                                                            for me. The van driver advised that it was lust a
             Mayo Clinic satttelite and had she heard back from the office in iime, she would have
                                                                                                    stopped. I then shortly saw the sign
             "Austin". So, the satellite clinic was apparently in Austin, MN

.L                       The van driver continued driving to Rochester (approximately another65 miles)
                                                                                                       with never a comment to me  or even a
             glance' I could have had a heart attack from the fall and in need of medical attention and
                                                                                                        died as a result-with absolutely no
             concern from the van driver or the other passenger for that matter.


ItA)                  Apparently the office had instructed the van driver to proceed directly to Rochester,
                                                                                                             for when we reached Rochester I
             found the van stopping at an entrance to Mayo Clinic where it was met by Mayo
                                                                                               Clinic First Responders and the Rochester Fire
             Department.


h                      The van driver exited the van and went over and talked to the woman Responder.
                                                                                                             This Responder approached me and
             almost accusatively questioned me why I wasn't restrained, apparently thinking
                                                                                                 I would need time to think of a gooo answer. No
             thought required as it was prompted by the need to communicate with the van driver.
                                                                                                        She then asked me how bad the pain was
             and I said "12"' She became annoyed with me when I questioned the need for pain
                                                                                               a      reliever as Fentanyl. I was given the
             injection at that point' That was the first medical attention or attention of any kind I received
                                                                                                                on my trip on this van from Alberl
             Lea, MN to Rochester with an iniurv.

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                           TelephoneNumber ?rz _ ??             ?   -{?C   a



     Note: All plaintiffs named  in the caption of the complaint must date and sign the complaint and
     provide his/her mailing address and telephone number. Attach additional sheets of paper as
     necessaw.
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